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                                              IN THE CIRCUIT COURT OF THE ELEVENTH
                                              JUDICIAL CIRCUIT IN AND FOR MIAMI-
                                              DADE COUNTY, FLORIDA

                                              GENERAL JURISDICTION DIVISION

                                              CASE NO.

  ELLIOTT ASKA, as Personal Representative
  of the Estate of Conrad Jules Aska, deceased,
  on behalf of himself and all potential
  beneficiaries and heirs,

                Plaintiff,

  vs.

  ATLAS AIR WORLDWIDE HOLDINGS,
  INC.; ATLAS AIR, INC.; AMAZON.COM
  SERVICES,       INC.;     AMAZON
  FULFILLMENT SERVICES, INC.; F & E
  AIRCRAFT MAINTENANCE (MIAMI),
  LLC; and FLIGHTSTAR AIRCRAFT
  SERVICES, LLC,

              Defendants
  _____________________________________            /

                          DEFENDANT ATLAS AIR, INC.’S
                  NOTICE OF FILING REMOVAL TO FEDERAL COURT

         The Defendant, ATLAS AIR, INC., hereby provides notice that a Notice of Removal in

  the above-styled action has been filed with the Clerk of the United States District Court for the

  Southern District of Florida. A true and correct copy of the Notice of Removal is attached hereto

  as Exhibit “A” and is being filed herewith pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446.

         WHEREFORE, Defendant ATLAS AIR, INC., respectfully requests that the above action

  now pending in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

  Florida, be removed therefrom to this Honorable Court based on diversity jurisdiction.
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that September 23, 2019, undersigned counsel electronically filed

  the foregoing document with the Clerk of Courts using CM/ECF which will send notification of

  such filing STEVEN C. MARKS, ESQ., Podhurst Orseck, P.A., Attorneys for Plaintiff, One S.E.

  3rd Avenue, Suite 2700, Miami, FL 33131 (smarks@podhurst.com); and AARON R. RESNICK.,

  ESQ., Law Offices of Aaron Resnick, P.A., Co-Counsel for Plaintiff, 100 Biscayne Boulevard,

  Suite 1607, Miami, FL 33132 (aresnick@thefirmmiami.com; efile@thefirmmiami.com).

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                                            By: /s/ Clayton W. Thornton
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